Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 1 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 2 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 3 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 4 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 5 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 6 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 7 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 8 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 9 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 10 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 11 of 12
Case 9:23-bk-10671-RC   Doc 1 Filed 08/04/23 Entered 08/04/23 17:40:57   Desc
                        Main Document    Page 12 of 12
